          Case 2:16-cr-00198-SMJ          ECF No. 151        filed 03/16/17       PageID.414 Page 1 of 1
O PS 8
(3/15)

                                                                                                     FILED IN THE
                              UNITED STATES DISTRICT COURT                                       U.S. DISTRICT COURT
                                                                                           EASTERN DISTRICT OF WASHINGTON


                                                           for
                                                                                                  3/16/17
                                           Eastern District of Washington                       SEAN F. MCAVOY, CLERK



U.S.A. vs.                 Thomason, Mandy Lee                         Docket No.             2:16CR00198-SMJ-5

                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Mandy Lee Thomason, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 20th day of December 2016, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #7: The defendant admitted to snorting methamphetamine on either March 9 or 10, 2017.

                           PRAYING THAT THE COURT WILL ISSUE A WARRANT

                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       March 16, 2017
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer
THE COURT ORDERS

[ ]      No Action
[ x]     The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ x]     The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                           Signature of Judicial Officer

                                                                             March 16, 2017
                                                                           Date
